                                IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF ALASKA


        SHARON L. ALLEN,

                                      Plaintiff,                Case No. 3:18-cv-00137-TMB

                           v.
                                                                ORDER ON MOTION FOR
        WALMART STORES, INC.                                   SUMMARY JUDGMENT
                                                                      (DKT. 14)
                                      Defendant.




                                          I. INTRODUCTION

           The matter comes before the Court on Defendant Walmart Stores, Inc.’s (“Wal-Mart”)

Motion for Summary Judgment (the “Motion”). 1 The Motion was fully briefed by the parties. 2 The

parties did not request oral argument, and the Court finds that it would not be helpful. For the

reasons stated below, the Motion for Summary Judgment is GRANTED.

                                           II. BACKGROUND

           Defendant Wal-Mart is a large commercial retailer with locations across the country. 3 This

matter concerns a slip and fall that occurred in one of its stores. On the afternoon of September 14,

2015, pro se Plaintiff Sharon Allen entered a Wal-Mart store located in Kenai, Alaska. 4 Shortly

after entering the store, Allen fell. 5 Allen now asserts a claim of negligence against Wal-Mart,


1
    Dkt. 14 at 1.
2
    See Dkts. 14 (Motion), 16 (Opposition), 19 (Reply).
3
    Dkt. 14 at 1.
4
    Dkt. 16 at 1.
5
    Id. at 2.

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contending that, “[a]s a result of the failure of the defendant to keep the entryway dry the plaintiff

sustained injuries to her person.” 6 Allen contends those injuries “include but are not limited to

injury to the left hand causing weakness and pain if used, back pain, jaw pain, loosened and

sensitized teeth, tooth loss, anxiety, and other personal injuries.” 7

           The parties do not dispute certain facts concerning the fall. Allen stated in her deposition

that she did not remember the floor being wet. 8 Similarly, an incident report filed

contemporaneously by an employee at Wal-Mart after Allen’s fall recorded that the floor was dry. 9

Allen’s fall was captured on surveillance video, and the parties agree the video does not show any

visible substance or moisture at the time Allen fell. 10 Both parties also agree that it was not raining

when Allen entered the store. 11

           However, the parties dispute the sequence of events that occurred immediately after the

fall. According to Allen, at the time of her fall, there was a Wal-Mart employee located at the front

of the store whose back was turned to the entrance. 12 Allen contends that this employee “wasn’t

even paying attention” at the time she entered the store. 13 Because the employee did not observe


6
    Dkt. 1-2 at 2.
7
    Id. at 2.
8
 Dkt. 14 at 2 (“…like the finish on the floor, …, kind of didn’t seem apparent like it was wet or
anything.”).
9
    Id. at 3.
10
   Dkt. 14 at 2; Dkt. 16 at 2 (“Upon reviewing the surveillance video during her deposition the
plaintiff stated that moisture was not apparent.”).
11
  Dkt. 16 at 1 (“Plaintiff entered Walmart on what she remembers as a nice day. It wasn’t raining
out and the pavement was dry.”); Dkt. 14-3 at 2.
12
     Dkt. 16 at 2. (“The greeter on this day was facing into the store when the plaintiff fell.”).
13
     Id. at 3.

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her fall, Allen argues that the employee may not have been performing routine inspections that

would have prevented her fall. 14 Wal-Mart identifies a different employee as the first to be notified

of the accident, and does not address in their briefing whether another employee was present at the

time of Allen’s fall. 15

           It is undisputed, however, that after a Wal-Mart manager became aware of the incident,

they contacted Allen and filed an incident report. 16 In an affidavit, the manager, Tim Nemecek,

noted that Allen was wearing an unidentified type of shoe that Mr. Nemecek believed may have

contributed to the fall. 17 Allen was unable to locate those shoes after the incident, and during her

deposition Allen was not able to identify the type of shoe that she was wearing on that day. 18

           Allen commenced this action against Wal-Mart in Alaska state court on September 14,

2017, asserting a single claim for negligence and requesting $375,000 in money damages for her

injuries. 19 Wal-Mart removed the action to federal court on June 12, 2018. 20 The Court has

diversity jurisdiction pursuant to 28 U.S.C. §1332. 21 After the completion of discovery, Wal-Mart

filed the Motion, which is now ripe for resolution.



14
     Id. at 3.
15
  Dkt. 14-3 at 5. (The incident report states that a pharmacy technician was the first employee on
the scene.)
16
     Dkt. 16 at 2; Dkt. 14 at 3.
17
 Dkt. 14-3 at 2 (“Allen was wearing a type of clog or sandal that had a hard sole, which I believed
may have contributed to the fall.”).
18
     Dkt. 14-2 at 2.
19
     Dkt. 1-2 at 3.
20
     Dkt. 1 at 1.
21
     28 USC §1332 (2019).

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                                       III. LEGAL STANDARD

          Summary judgment is appropriate where, viewing the evidence and drawing all reasonable

inferences in the light most favorable to the nonmoving party, 22 “the movant shows that there is

no genuine dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” 23 Material facts are those which might affect the outcome of the case. 24 A genuine issue of

material fact exists “if the evidence is such that a reasonable jury could return a verdict for the

non-moving party.” 25 “There is no genuine issue of fact if, on the record taken as a whole, a rational

trier of fact could not find in favor of the party opposing the motion.” 26 A movant’s burden may

be met by “‘showing’—that is, pointing out to the district court—that there is an absence of

evidence to support the nonmoving party’s case.” 27 Once a movant has met its initial burden, Rule

56(e) requires the nonmoving party to go beyond the pleadings and identify facts which show a




22
     Scott v. Harris, 550 U.S. 372, 378 (2007).
23
   Fed. R. Civ. P. 56(a). See also Celotex Corp. v. Catrett, 477 U.S. 317, 323–24 (1986); Jensinger
v. Nev. F. Credit Union, 24 F.3d 1127, 1130-31 (9th Cir. 1994).
24
  Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248–49 (1986) (“Only disputes over facts that
might affect the outcome of the suit under the governing law will properly preclude the entry of
summary judgment.”).
25
     Id. at 248.
26
   Mills v. Wood, No. 4:10-CV-00033-RRB, 2015 WL 2100849, at *1 (D. Alaska May 6, 2015),
aff’d in part, 726 F. App’x 631 (9th Cir. 2018) (citing Matsushita Elec. Indus. Co. v. Zenith Radio
Corp., 475 U.S. 574, 586 (1986)).
27
     Celotex, 477 U.S. at 325.

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genuine issue for trial. 28 Because Allen is proceeding pro se, the Court liberally construes her

pleadings, as is appropriate with pro se litigants. 29

                                             IV. ANALYSIS

          Wal-Mart moves for summary judgment, asserting that Allen lacks sufficient evidence to

support a claim of negligence. 30 In response, Allen contends that an employee tasked with

monitoring the entrance (the “greeter”) was not watching the entryway at the time of her fall, that

this omission is evidence that Wal-Mart failed to inspect the premises of its business, and that, if

the employee had inspected the entrance, then her fall may have been prevented. 31 As explained

below, because the Court concludes that Wal-Mart has demonstrated that there is an absence of

evidence to support Allen’s claim for negligence, the Court GRANTS the Motion for Summary

Judgment in favor of Wal-Mart.

          The Court looks first to the elements of a negligence claim, and whether there is an absence

of evidence in the record to support Allen’s claim for negligence. Generally, under Alaska law, a

plaintiff must prove four elements to establish a claim of negligence: (1) that the defendant had a

duty to the plaintiff; (2) that the defendant breached that duty; (3) that the breach of duty was the

cause of the injury; and (4) that there were damages resulting from the injury. 32 Further, it is




28
     Id. at 323–24.
29
  See Erickson v. Pardus, 551 U.S. 89, 94 (2007) (“A document filed pro se is to be liberally
construed.” (internal quotation marks omitted)).
30
     Dkt. 14 at 1.
31
     Dkt. 16 at 4.
32
     Lyons v. Midnight Sun Transp. Servs., 928 P.2d 1202, 1204 (Alaska 1996).

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appropriate for a court to grant a defendant’s motion for summary judgment if there is an absence

of evidence to support any element of the plaintiff’s claim. 33

           To prove the third element of her claim for negligence, causation, Allen must produce or

point to evidence in the record that shows some act or omission by Wal-Mart as the proximate

cause of her fall and subsequent injuries. 34 When an act or omission is more likely than not a

substantial factor in leading to an accident, that act is a proximate cause of the injury to the

plaintiff. 35 Significantly, under Alaska law, the fact that a fall occurs is not evidence that the injury

was caused by an act or omission by a defendant. 36 Moreover, evidence that an act or omission

was the proximate cause of an injury must rise above the level of speculation. 37 Although

circumstantial evidence can be used to show that the defendant’s act or omission was the proximate

cause of an accident, that evidence must show a high probability that the act or omission was the

most likely cause of that accident. 38 Here, Wal-Mart argues that there is an absence of evidence to

establish that it caused Allen’s fall, i.e. the causation element cannot be satisfied. 39 The Court

agrees. The affidavits, parties’ depositions, and undisputed facts here cannot show that Wal-Mart

was the proximate cause of the injuries to Allen. 40



33
     Celotex, 477 US 317, 323.
34
     Alvey v. Pioneer Oilfield Servs., 648 P.2d 599, 600 (Alaska 1982).
35
     Id.
36
     Id.
37
     Neely v. St. Paul Fire and Marine Ins. Co., 584 F.2d 341, 346 (9th Cir. 1978).
38
     Ross v. Great N. R. Co., 315 F.2d 51, 57 (9th Cir. 1963).
39
     Dkt. 14 at. 9.
40
     Dkt. 14-2 at 3; Dkt. 16 at 2.

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           Both parties agree that that there was no visible moisture or substance on the store’s floor

at the time of Allen’s fall, and that no moisture or substance was visible on the security camera

footage. 41 Allen provides no alternate explanation for her fall, but instead maintains that there may

have been moisture on the floor, despite the evidence—and her own prior admission—to the

contrary. 42 There is otherwise an absence of evidence to explain the proximate cause of Allen’s

fall, in other words there is an absence of evidence to prove a necessary element—here, proximate

cause—of Allen’s claim of negligence. 43

           In her opposition, Allen argues that because a Wal-Mart employee was not watching the

entrance when she fell, that employee’s purported inattention may have been the cause of the fall. 44

Allen contends that because the employee at the front of the store did not see her fall, that employee

also did not see any moisture that may have been present on the floor, and further argues that this

omission by the employee may have caused the fall. 45 This argument does not change the Court’s

analysis. The theory Allen advances is not supported by any evidence in the record and is



41
     Dkt. 14 at. 3; Dkt. 16 at 2 (“True, there were no obvious puddles of water on the floor”).
42
   Allen’s response asserts that “the plaintiff’s written record of events states that the floor was
‘damp/wet’ when she in fact hit the floor.” Dkt. 16 at 2. However, this assertion from her briefing
is contradicted by her prior sworn testimony, as well as other evidence in the record. Dkt. 14-2 at
2-3. The Court notes that such conclusory assertions are insufficient to create a genuine dispute of
material fact when plainly contradicted by the record. See Steckl v. Motorola, Inc., 703 F.2d 392,
393 (9th Cir. 1983) (quoting Ruffin v. County of Los Angeles, 607 F.2d 1276, 1280 (9th Cir.1979)).
43
  See Alvey, 648 P.2d 599, 600-601 (holding that even assuming the defendant breached a duty,
the plaintiff must still show that the breach caused the injury in order to prevail against a motion
for summary judgment).
44
     Dkt. 16. At 3.
45
     Id. at 3.

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contradicted by the parties’ mutual agreement that the surveillance video shows no moisture or

substance on the floor. 46

            Furthermore, while reasonable inferences based on undisputed facts may be used to reach

a conclusion as to the cause of an injury; 47 when an accident could have a reasonable alternative

cause, mere speculation cannot be the sole basis on which a court concludes that a specific act or

omission caused an accident. 48 Wal-Mart points to a possible alternative cause of Allen’s injury—

namely, Allen’s shoes, 49 and this alternative cannot be reasonably excluded based on the evidence

in the record. 50 Moreover, no evidence or explanation advanced by Allen supports her theory that

the greeter’s inattention alone was a proximate cause of her fall. Therefore, Allen has not shown—

but merely speculates—that an act or omission by Wal-Mart was the cause of Allen’s injury.51

Wal-Mart has met its burden to demonstrate there is an absence of evidence supporting a necessary

element of Allen’s claim, and has provided a possible reasonable alternative cause, while Allen

has not shown that there is any dispute of material facts that create a genuine issue to be decided

at trial.




46
     Dkt. 14 at 2; Dkt. 16 at 2.
47
     Wolf v. Reynolds Electrical and Engineering Co., 304 F.2d 646, 649-650 (9th Cir. 1962).
48
  Id. at 650 (“It is well settled that proof must be sufficient to raise a reasonable inference that the
act or omission complained of was in fact the proximate cause of the injury”).
49
     Dkt. 14-3 at 2 (The shoe “may have contributed to the fall”).
50
  Ross v. Great N. R. Co., 315 F.2d 51, 58 (evidence must then reasonably exclude any other
proximate cause”) (internal quotations omitted).
51
     Wolf v. Reynolds Electrical and Engineering Co., 304 F.2d 646, 649.

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       Accordingly, it is appropriate to GRANT the Motion because of the absence of evidence

indicating that Wal-Mart was the proximate cause of Allen’s fall. 52

                                        V.      CONCLUSION

       For the foregoing reasons, Wal-Mart’s Motion for Summary Judgment at docket 14 is

GRANTED. The Clerk of court shall issue judgment accordingly.

     IT IS SO ORDERED.

                                      Dated at Anchorage, Alaska, this 19th day of July, 2019.



                                                 /s/ Timothy M. Burgess
                                                 TIMOTHY M. BURGESS
                                                 UNITED STATES DISTRICT JUDGE




52
  Celotex, 477 US 317, 323. (Summary Judgment is appropriate against a party who fails to
“establish the existence of an element essential to that party's case.”).

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